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MAY 08 2018

CLERK, U.S. DISTRICT Co
EASTERN DISERICT OF CALIFORNIA

BY ennennenenr

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

ETHAN MORSE, No. 1:16-cv-00142-DAD-SKO
Plaintiff,
v. SPECIAL VERDICT FORM — PUNITIVE
DAMAGES PHASE

COUNTY OF MERCED, CHARLES
HALE, ERICK MACIAS, and JOSE SAM
SANCHEZ,

Defendants.

WE, THE JURY, in the above action, unanimously find the following Special Verdict on
the questions submitted to us:
13. What is the amount of punitive damages, if any, you are awarding to plaintiff on his judicial

deception claim?

Erick Macias $ [0, d Lt

Charles Hale $ (1, ‘L6 5 *
Total $ z $, 3 5 4 —

Please sign and date this form and return it to the court.
Dated: ; Ad
5/8 /2018

Jury/ Foreperson’s iP g ature =

